                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION



UNITED STATES OF AMERICA                      )
                                              )   No. 3:11-00012
v.                                            )   Judge Sharp
                                              )
DEZORICK FORD [32]                            )
                                              )

                                          ORDER



       Pending before the Court is Defendant’s Motion to Continue Change of Plea Hearing

Date (Docket No. 2158).

       The motion is GRANTED and the change of plea hearing scheduled for May 21, 2014, is

hereby rescheduled for Wednesday, June 18, 2014, at 1:30 p.m.

       It is so ORDERED.




                                           KEVIN H. SHARP
                                           UNITED STATES DISTRICT JUDGE




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